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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

SUZANNE COWAN                                      §
     Plaintiff,                                    §
                                                   §
vs.                                                §    CIVIL ACTION NO. 4:17-cv-437
                                                   §
SENTRY INSURANCE A MUTUAL                          §
COMPANY                                            §
     Defendant.                                    §

                                     NOTICE OF REMOVAL

         Defendant, Sentry Insurance A Mutual Company (“Sentry”), files this Notice of the Removal

of this case from the 352nd Judicial District Court of Tarrant County, Texas, to the United States

District Court for the Northern District of Texas, Fort Worth Division, pursuant to 28 U.S.C. § 1441

and 1446(b), and would show the Court as follows:

                                                   1.

         Sentry is the Defendant in Cause No. 352-291813-17, entitled “Suzanne Cowan v. Sentry

Insurance A Mutual Company”, currently pending in the 352nd Judicial District Court of Tarrant

County, Texas. That lawsuit was originally filed on April 28, 2017 in the 352nd Judicial District

Court of Tarrant County, Texas.

                                                   2.

         On May 9, 2017, Sentry first learned of Plaintiff’s lawsuit, when a copy of Plaintiff’s lawsuit

and citation were formally served by process server on that date on Sentry’s registered agent for

service of process, CT Corporation. Sentry is filing this notice timely under 28 U.S.C. § 1446(b), as

it is being filed within thirty days from when the lawsuit was served on Sentry.



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                                                   3.

         At the date of commencement of this action and at all pertinent times, Plaintiff is a citizen

of the State of Texas, being a resident of and domiciled in the State of Texas. At all times relevant

herein, Sentry is a citizen of the State of Wisconsin, being an insurance company incorporated in the

State of Wisconsin, and having its principal place of business in the State of Wisconsin.

                                                   4.

         This Court has original jurisdiction of this action under 28 U.S.C. § 1332, and it may be

removed to this Court by Sentry, pursuant to 28 U.S.C. § 1441, it being a civil action wherein the

amount in controversy exceeds $75,000.00, exclusive of interest and costs, as between citizens of

different states. That the necessary amount in controversy is met is illustrated by Paragraph 4 of

Plaintiff’s Original Petition, where Plaintiff states she seeks monetary relief against Sentry in an

amount over $1,000,000.

                                                   5.

         Copies of all the pleadings which have been filed in this action to date, and which are

attached as Exhibit “A”, include the following:

         a.       Plaintiff’s Original Petition;

         b.       Citation served on Sentry; and

         c.       Certified Copy of state court docket sheet.

         To the best of Sentry’s knowledge, no other pleading, process or order has been filed or

served in the state court lawsuit referred to above.

         Wherefore, Defendant, Sentry Insurance A Mutual Company, prays that this action be

removed to this Court from the 352nd Judicial District Court of Tarrant County, Texas, and for


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      Case 4:17-cv-00437-O Document 1 Filed 05/29/17                 Page 3 of 16 PageID 3


further proceedings as may be necessary.

                                                      Respectfully submitted,


                                                      /S/Russell J. Bowman
                                                      Russell J. Bowman
                                                      Texas State Bar No. 02751550
                                                      800 West Airport Freeway, Suite 860
                                                      Irving, Texas 75062
                                                      (214) 922-0220
                                                      (214) 922-0225 (FAX)
                                                      E-Mail: russelljbowman@sbcglobal.net
                                                      ATTORNEY FOR DEFENDANT


                                  CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing instrument was served upon the
following, as indicated below, on this the 29th day of May, 2017:

Mr. Preston J. Dugas III                              VIA E-MAIL: preston@pjdlawfirm.com
Preston Dugas Law Firm, PLLC
309 W. 7th Street, Suite 1100
Fort Worth, Texas 76102

                                                      /S/Russell J. Bowman
                                                      Russell J. Bowman




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                                EXHIBIT A




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                                                                                                        FILED
                                                                                          TARRANT COUNTY
                                                                                         4/28/2017 4:27:09 PM
                                CAUSE N0~52-291813-17                                    THOMAS A. WILDER
                                                                                            DISTRICT CLERK

 SUZANNE COWAN                                      §                 IN THE DISTRICT COURT
   Plaintiff,                                       §
                                                    §
 vs.                                                §                _ _JUDICIAL DISTRICT
                                                    §
 SENTRY INSURANCE A MUTUAL                          §
 COMPANY                                            §
   Defendant.                                       §              TARRANT COUNTY, TEXAS


                               PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

        SUZANNE COWAN, Plaintiff herein, files this her Original Petition against Defendant,

SENTRY INSURANCE A MUTUAL COMPANY, and, in support of her causes of action, would

respectfully show the Court the following:

                                             I.    PARTIES

1.      Plaintiff owns Alpha Graphics which form the basis of this suit and which is located at 5836

Camp Bowie Boulevard, Fort Worth, Tarrant County, Texas 76107. The property will be referred·

to as "Alpha Graphics" throughout this petition.

2.      SENTRY INSURANCE A MUTUAL COMPANY ("Sentry") is a foreign entity authorized

to engage in the insurance business in the State of Texas, and may be served by serving its

Registered Agent for Service of Process, CT Corporation System, 1999 Bryan Street, Suite

900, Dallas, Texas 75201-3136. Service is requested by certified mail, return receipt requested

at this time.

                                       II.        DISCOVERY

3.      Plaintiff intends to conduct discovery under Level 3 of Texas Rules of Civil Procedure

190A.
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                                       Ill.      CLAIM FOR RELIEF

4.        Plaintiff does not wish to impose any limit on what she may present to the jury or what the

jury may consider as a range of damages in this case; however, she makes the following

representation in compliance with Tex. R. Civ. P. 47(c) to aid in the efficient court administration.

Plaintiff believes that the most reasonable option afforded under Tex. R. Civ. P. 47, at this time,

prior to the completion of discovery in the case, is to seek monetary relief in excess of $1,000,000,

exclusive of interest and costs, which is the only option that does not require Plaintiff to select a

speculative, arbitrary cap on its damages. Plaintiff reserves the right to modify or adjust this

statement, as the litigation progresses and additional evidence is compiled. Regardless of what

Plaintiff must state for administrative purposes as the amount of damages it seeks pursuant to

Tex. R. Civ. P. 47(c), it desires to leave the final determination of damages, if any, to the sole

province of the jury, based upon the credible evidence presented to the jury at trial.

                                 IV.          JURISDICTION AND VENUE

5.        This court has subject matter jurisdiction of this cause of action because it involves an

amount in controversy in excess of the minimum jurisdictional limits of this Court.

6.        Venue is proper in Tarrant County under Tex. Civ. Prac. & Rem. Code §15.002(a)(1)

because all or a substantial part of the events or omissions giving rise to the claim occurred in

said County. In particular, the loss at issue occurred in this County.

                                 V.           FACTUAL BACKGROUND

7.        Plaintiff is the owner of a commercial building located 5836 Camp Bowie Boulevard, Fort

Worth, Texas 76107in Tarrant County, Texas (herein referred to as the "Property").

8.        On or about February 18, 2016, Defendant issued a commercial property insurance policy

that provides insurance coverage on the Property naming Plaintiff as the insured (herein referred

to as the "Insurance Policy").

9.        On or about March 17, 2016, a massive hail storm hit Tarrant County, Texas, significantly

damaging Plaintiffs Property and many other properties in Tarrant County. The National Center


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For Environmental Information has estimated over 600 million in property damage as a result of

the storm.

10.      Subsequently, Plaintiff filed a claim on her Insurance Policy.

11.       Defendant assigned Claim Representative Eric Dombrowski to evaluate the damages.

12.       Upon information and belief, Mr. Dombrowski visited the Property on or about March 24,

2016 and performed an inspection.

13.      Mr. Dombrowski then wrote an outcome oriented report and despite finding roof and gutter

damage caused by hail, Mr. Dombrowski on behalf of Sentry only agreed to minimal repairs.

Furthermore, Mr. Dombrowski's own photographs taken of the Property and collateral items such

as the air conditioning units show obvious signs of hail damage.

14.      Mr. Dombrowski and Sentry then hired, Richard Prusha an engineer with EFI Global to

inspect the property. Mr. Prusha visited the property and found hail damage to the "eave and

parapet wall of the roof."

15.       Mr. Dombrowski and Sentry then hired yet another engineer, Louis DeJesus to perform a

repair scope investigation based on the findings of Mr. Prusha. Mr. DeJesus rendered an outcome

oriented opinion that the roof could be repaired. Plaintiff was never given an explanation as to

why Mr. Prusha, a licensed engineer, could not opine on the reparability of the roof in conjunction

with his findings. However, based on Mr. DeJesus' outcome oriented opinion, a repair estimate

was provided by Sharp Construction on behalf of Sentry.

16.       In January 2017, after ten months of working with Sentry to resolve her claims, Plaintiff

exhausted from the process, hired Roy Young with YPA Public Adjusters to assist with the claim.

17.       Shortly thereafter, on or about February 14, 2017, Mr. Young on behalf of Plaintiff served

Sentry with correspondence invoking the appraisal provision within the policy.

18.       In response, Sentry hired an attorney, Russell Bowman, to represent it.

19.       On or about March 27, 2017, almost 45 days after Plaintiff invoked appraisal, Mr. Bowman

sent a detailed letter to Plaintiff completely ignoring her request for appraisal and requested, for


Plaintiffs Original Petition                                                                  Page 3
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the first time in now over a year since the claim was reported, that: (1) Plaintiff give her

examination under oath, (2) Plaintiff sign an authorization allowing Sentry to obtain documents

related to a previous claim that Plaintiff allegedly made, (3) Plaintiff produce numerous other

documents and (4) Plaintiff make the Property available for yet another inspection. These

requests are well beyond what's required in the Insurance Policy and are merely tactics to

continue to delay and deny the claim.

20.       Mr. Bowman's March 27 letter referenced-above was not served on Mr. Young. In fact, in

an email to Mr. Young, Mr. Bowman refused to communicate directly with Mr. Young despite clear

statutory authority allowing Mr. Young to act on behalf of Plaintiff in negotiating for or effectuating

a settlement of the claim. Mr. Bowman claimed that doing so would only "risk aiding and abetting

[Mr. Young] in the unauthorized practice of law, something of which [he is] not going to risk [his]

law license to do." Further, Mr. Bowman refused to acknowledge the appraisal process until "the

items requested in [the March 27 letter] have been provided, including Ms. Cowan submitting to

and completing the examination under oath requirement of her insurance contract."

21.       Because of Mr. Bowman's refusal to communicate with Mr. Young, a representative of

Plaintiff and a claims expert, Plaintiff was forced to hire PJD Law Firm, PLLC to represent her.

22.      Sentry along with Mr. Dombrowski and their paid engineers conducted a substandard

investigation and inspection of the property, prepared a report that failed to include all damages

that were noted during the inspection, undervalued the damages observed during the inspection,

unreasonably delayed its evaluation of the claim and undertook bullying tactics to remove

Plaintiffs public adjuster from the process.

23.       Sentry along with Mr. Dombrowski and their hired engineer's unreasonable investigation

and delay of this claim led to the underpayment and/or no payment of Plaintiffs claim.

24.       Moreover, Sentry, Mr. Dombrowski and their hired engineers performed an outcome-

oriented investigation of Plaintiffs claim, which resulted in a biased, unfair and inequitable

evaluation of Plaintiffs losses on the property.


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                                         VI.     CAUSES OF ACTION

25.      Each of the foregoing paragraphs is incorporated by reference in the following:

         A.        Breach of Contract

26.      Defendant had a contract of insurance with Plaintiff. Defendant breached the terms of

that contract by refusing to go through the appraisal process and wrongfully denying and/or

underpaying the claims. As a result, Plaintiff was damaged.

         B.        Prompt Payment of Claims Statute

27.      The failure of Defendant to pay for the losses and/or to follow the statutory time guidelines

for accepting or denying coverage constitutes a violation of Article 542.051 et seq. of the Texas

Insurance Code.

28.      Plaintiff, therefore, in addition to Plaintiffs claim for damages is entitled to 18% interest

and attorneys' fees as set forth in Article 542.060 of the Texas Insurance Code.

         C.         Bad Faith/DTPA

29.      Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

30.      Defendant violated§ 541.051 of the Texas Insurance Code by:

         (1)        making statements misrepresenting the terms and/or benefits of the policy.

31.       Defendant violated§ 541.060 by:

         ( 1)      misrepresenting to Plaintiff a material fact or policy provision relating to coverage
                   at issue;
          (2)      failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement
                   of a claim with respect to which the insurer's liability had become reasonably clear;

          (3)       failing to promptly provide Plaintiff a reasonable explanation of the basis in the
                    policy, in relation to the facts or applicable law, for the insurer's denial of a claim
                    or offer of a compromise settlement of a claim;
          (4)       failing within a reasonable time to affirm or deny coverage of a claim to Plaintiff or
                    submit a reservation of rights to Plaintiff; and
          (5)       refusing to pay the claim without conducting a reasonable investigation with
                    respect to the claim;

32.       Defendant violated§ 541.061 by:



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          (1)       making an untrue statement of material fact;

          (2)       failing to state a material fact necessary to make other statements made not
                    misleading considering the circumstances under which the statements were made;

          (3)       making a statement in a manner that would mislead a reasonably prudent person
                    to a false conclusion of a material fact;

          (4)       making a material misstatement of law; and

          (5)       failing to disclose a matter required by law to be disclosed.

33.       At all material times hereto, Plaintiff was a consumer who purchased insurance products

and services from Defendant.

34.       Defendant has violated the Texas Deceptive Trade Practices Act in the following respects:

          (1)       Defendant represented that the agreement confers or involves rights, remedies, or
                    obligations which it does not have, or involve, or which are prohibited by law;

          (2)       Defendant failed to disclose information concerning goods or services which was
                    known at the time of the transaction when such failure to disclose such information
                    was intended to induce the consumer into a transaction that the consumer would
                    not have entered into had the information been disclosed;

          (3)       Defendant, by accepting insurance premiums but refusing without a
                    reasonable basis to pay benefits due and owing, engaged in an unconscionable
                    action or course of action as prohibited by the DTPA § 17.50(a)(1)(3) in that this
                    Defendant took advantage of Plaintiffs lack of knowledge, ability, experience, and
                    capacity to a grossly unfair degree, that also resulted in a gross disparity between
                    the consideration paid in the transaction and the value received, in violation of
                    Chapter 541 of the Insurance Code.

35.       Defendant knowingly committed the acts complained of. As such, Plaintiff is entitled to

exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code§ 541.152(a)-

(b).

          D.        Attorneys' Fees

36.       Plaintiff engaged the undersigned attorneys to prosecute this lawsuit against Defendant

and agreed to pay reasonable attorneys' fees and expenses through trial and any appeal.

37.       Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to TEX. CIV.

PRAC. & REM. CODE §§ 38.001-38.003 because Plaintiff is represented by an attorney,




PlaintifFs Original Petition                                                                      Page 6
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presented the claim to Defendant, and Defendant did not tender the just amount owed before the

expiration of the 30th day after the claim was presented.

38.      Plaintiff further prays that she be awarded all reasonable attorneys' fees incurred in

prosecuting her causes of action through trial and any appeal pursuant to Sections 541.152 of

the Texas Insurance Code.

                                 VII.     CONDITIONS PRECEDENT

39.      All conditions precedent to Plaintiffs right to recover have been fully performed, or have

been waived by Defendant.

                                        VIII.        DEMAND FOR JURY

40.       Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff herein requests a jury

trial and along with the filing of the Original Petition has tendered to the Clerk of the Court the

statutory jury fee.

                                  IX.       DISCOVERY REQUESTS

41.       Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after service of

this request, the information or material described in Rule 194.2(a)-(l).

                                                X.      PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that, upon final hearing

of the case, she recovers all damages from and against Defendant that may reasonably be

established by a preponderance of the evidence, and that Plaintiff be awarded attorneys' fees

through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and such

other and further relief, general or special, at law or in equity, to which Plaintiff may show herself

to be justly entitled.




PlalntlfPs Original Petlllon                                                                    Page 7
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                                Respectfully submitted,



                                PRESTON DUGAS LAW FIRM, PLLC
                                309 W. 7th Street, Suite 1100
                                Fort Worth, Texas 76102
                                Telephone:    (817) 945-3061
                                Facsimile:    (682) 219.0761
                                Email: preston@pjdlawfirm.com


                                By:ls!Preston J. Dugas Ill
                                PRESTON J. DUGAS Ill
                                State Bar No. 24050189

                                ATTORNEY FOR PLAINTIFF




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                                                  Cause                      352-291813-17
                              SUZANNE COWAN                                                       SENTRY INSURANCE A MUTUAL
                                                                               VS                          COMPANY

                                                          OFFI<::!EI~'S        RETURN
   Received         this                                                                  2017       at 9:22AM 1 and executed at



                                                                                                                  by   mailing   to




                         Authorized Person/Constable/Sheriff:


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   Fees $     75.00


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   to certify which witness my hand and seal of office



   (Seal)
                                                      County of              State of Texas




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           Case 4:17-cv-00437-O Document 1 IFiled 05/29/17 Page 14 of 16 PageID 14
         I '

                                       THE S~ATE OF TEXAS                  ORIGINAL
                                DISTRICT COUfT, TARRANT COUNTY

                                                 .                    d(TATION                              Cause No. 352-291813-17
                                         SUZANNE COWAN                                                               '.'      ·-·i
                                                                                                                              ··~         ~      .,-i

                                    SENTRY INSURANCE A               MV~UAL COMPANY                                       E' ~            ~ ~
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You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF'S                    ORIGIN~ETITION

at or before 10 o'clock A.M. of the Monday next after the e piration of 20 days after the date of service hereof
before the 352nd District court in and for Tarrant County, exas, at the cOurthouse in the city of Fort Worth,
Tarrant County, Texas said PLAINTIFF being



SUZANNE COWAN


Filed in said Court on    April 28th, 2017 Against
SENTRY INSURANCE A MUTUAL COMPANY


For suit, said suit being numbered 352-291813-17 the nature                             is as shown on said
PLAINTIFF'S ORIGINAL PETITION a copy of which accompanies



                                                                              DUGAS, III
                                                                    SUJIANINECOWAN Phone No. (817)945-3061
                                                                         7TH ST STE 1100 FORT WORTH, TX tOIIJ4... ·~::·;·:....
        Thomas A. Wilder           Clerk of the District
of said Court, at office in the City of Fort Worth, this
                                                                 syG&~~~~~~~~L_------~

NOTICE: You have been sued. You may employ an attorney, If ypu or your attorney do not file a written
                                                                        !
clerk who issued this citation by 10:00 AM, on the Monday next following the expiration of twenty days
served this citation and petition, a default judgment may be: taken against you.
           Thomas A. Wilder, Tarrant County District Clerk, I 0 N CALHOUN, FORT WORTH TX 76196-0402

                                       OFdFaylCEfR'S RETUR!\1 ·*352291,8131700a0t005*                         o'clock _M,
Received this Citation on the                    0                      .                                                               and executed at
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- - - - - - - - - - - - - - - - w i t h i n the county of                               , State of                   at                    o'clock _M
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a true copy of this Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL PETITION                          having first
endorsed on same the date of delivery,                                  I

                          Deputy/Constable/Sheriff:
County of - - - - - - - - - - - - - - - - - - - State of ---------[-          By - - - - - , - - - - - - - - - - - - - - - Deputy
Fees $______
State of                   County of                                            {Must be verified if served outside the State of Texas)
Signed and sworn to by the said     ----------------------+------ before                 me this _ _ day of _______ , __
to certify which witness my hand and seal of office
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                               Case 4:17-cv-00437-O Document 1 Filed 05/29/17                         Page 15 of 16 PageID 15
                CITATION
                                                                                                                    COMPLETE THiS SECTiON 0'• DELIVERY
         Cause No. 352-291813-17
                                                               •   Print your name and address on ttle reverse
  SUZANNE COWAN                                            '       ,~that we can return-the card to you.
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              vs.                                                       SEN'i-R.r·~SORANCE    A MUTUAL   coMPANY
   SENTRY INSURANCE A MUTUAL                                         B/S .CX ctiRPORATION SYSTEM - REG AGENT
                                                                                 .   ~999   BRYAN ST.
   COMPANY                                                                             SUITE 900
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  This 2nd day of May, 2017
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         Thomas A. Wilder
    Tarrant County District Clerk
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  PRESTON J DUGAS, ill
  Attorney for: SUZANNE COWAN
  Phone No. (817)945-3061
  ADDRESS: 309W7TH ST STE 1100

       FORT WORTH, TX 76102

        CIVIL LAW




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                                         Case 4:17-cv-00437-O Document 1 Filed 05/29/17                 Page 16 of 16 PageID 16
                                               Civil Docket                           Discovery: 3                              352-291813-17
 Cause Of Action: CONTRACT, CONSUMER/DTPA

                                       NAMES OF PARTIES                                   ATTORNEYS

      Date Filed                         SUZANNE COWAN           DUGAS, PRESTON J, III
      04/28/2017                                                 309 W 7TH ST STE 1100

 Jury                                                            FORT WORTH, TX 76102
 Fee $                                       vs.                 BariD: 24050189TX    Ph (817)945-3061           PLTF
                                                                 Fax Ph (817)335-1603
                                                                 PRESTON DUGAS LAW FIRM PLLC
                                                                 PRESTON@PRESTONDUGASLAWFIRM.COM

 Paid                              SENTRY INSURANCE A MUTUAL
 By                                        COMPANY




   Date of Orders                                                0 R 0   ER s   0 F   c   0   u   R T                   was Steno Used?




                   352-291813-17
